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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


JILL GORDON, as Trustee for the Next of    Case No. 20‐CV‐1167 (PJS/LIB)
Kin of Ryan Martin, Deceased,

                   Plaintiff,

v.                                                   ORDER

SAPPI NORTH AMERICA, INC.; SAPPI
CLOQUET, LLC; SAPPI FINE PAPER
AMERICA LLC; SAPPI LIMITED; S.D.
WARREN COMPANY; S.D. WARREN
SERVICES COMPANY; S.D. WARREN
CORPORATION, f/k/a S.D. Warren
Services Company; S.D. WARREN
ALABAMA, LLC, d/b/a Sappi Fine Paper
North America; JOHN DOE, Premise
Owners, Controllers, and/or Operators I‐
X; JOHN DOE, “Sappi Fine Paper”
Entity(ies) I‐X; JOHN DOE, “Sappi Fine
Paper North America” Entity(ies) with
control over the Sappi Cloquet,
Minnesota mill’s budgets relating to
engineering controls & safety equipment
related to hydrogen sulfide hazards
and/or emissions I‐X; JOHN DOE,
Entity(ies) who assumed duties for
worker health and safety regarding
hazards of hydrogen sulfide gas I‐X,

                   Defendants.



     Darren Brown and Joseph J. Fisher, II, PROVOST UMPHREY LAW FIRM; Eric
     W. Beyer, SIEBEN CAREY, for plaintiff.
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          Christine R. M. Kain and Hannah Anderson, FAEGRE DRINKER BIDDLE &
          REATH LLP, for defendants Sappi North America, Inc., Sappi Cloquet, LLC, and
          S.D. Warren Alabama, LLC.

          Plaintiff Jill Gordon, as trustee for the next of kin of Ryan Martin, brought this

action against defendant Sappi Cloquet, LLC (“Sappi Cloquet”) and numerous other

entities, seeking to recover damages for Martin’s death while he was performing his

duties at the paper mill at which he was employed. This matter is before the Court on

Sappi Cloquet’s motion to dismiss for lack of subject‐matter jurisdiction under Fed. R.

Civ. P. 12(b)(1). ECF No. 21.

          In its memorandum in support of its motion, Sappi Cloquet makes clear that it is

bringing a facial challenge to this Court’s jurisdiction. ECF No. 23 at 3. Sappi Cloquet

argues that, because the complaint on its face clearly establishes that Sappi Cloquet was

Martin’s employer, Gordon’s claims against Sappi Cloquet are barred by the exclusivity

provision of the Minnesota Workers’ Compensation Act, Minn. Stat. § 176.031. Id.

at 3–4.

          In her response, Gordon concedes that any claims against Martin’s employer are

barred, but points out that the complaint never clearly alleges that Sappi Cloquet was

Martin’s employer. The identity of Martin’s employer is addressed only in

paragraph 20 of the complaint, which reads as follows:

                       20. At the time of the occurrence, the employer listed
                 on Ryan Martin, decedent’s, paycheck was Defendant, Sappi


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              Cloquet LLC, however, the worker’s compensation claim
              filings by the carrier identify Ryan Martin, decedent’s,
              employer as “Sappi Fine Paper.” “Sappi Fine Paper” and
              “Sappi Fine Paper North America,” are fictitious names that
              have been used by various SAPPI and S.D. Warren entities
              over the years. However, neither “Sappi Fine Paper” and
              “Sappi Fine Paper North America” is currently registered as
              a fictitious name for any entity doing business in Minnesota.
              Plaintiff will show that Defendant, Sappi North America Inc.
              was not the employer of Ryan Martin, deceased, at the time
              of the occurrence.

ECF No. 1 at ¶ 20.

       Translated into plain English, then, the complaint says the following: The

identity of Martin’s employer is unclear. His paychecks identified “Sappi Cloquet LLC”

as his employer, but the worker’s compensation insurer identified “Sappi Fine Paper”

as his employer. “Sappi Fine Paper” is a fictitious name that has been used by multiple

entities, and therefore it is not clear which of those entities was identified as Martin’s

employer in the worker’s compensation proceedings. The one thing that Gordon knows

is that Sappi North America was not Martin’s employer.

       Obviously, based on these inconclusive allegations, the Court cannot find from

the face of the complaint that Sappi Cloquet was Martin’s employer. Perhaps in

recognition of this fact, Sappi Cloquet changed tack in its reply brief, arguing that

evidence outside of the complaint established that it employed Martin. But “federal

courts do not, as a rule, entertain arguments made by a party for the first time in a reply



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brief.” Torspo Hockey Intʹl, Inc. v. Kor Hockey Ltd., 491 F. Supp. 2d 871, 878 (D. Minn.

2007); see also Redking Foods LLC v. Minn Assocs. LP, No. 13‐CV‐0002 (PJS/JSM), 2014 WL

754686, at *4 (D. Minn. Feb. 26, 2014) (collecting cases from both the Eighth Circuit and

the District of Minnesota).

       The Court cannot resolve the dispute over the identity of Martin’s employer on

the face of the complaint, and thus the Court denies Sappi Cloquet’s motion without

prejudice. The Court cannot help but observe, however, that this is a dispute that

reasonable attorneys should be able to resolve without the intervention of a judge.

Someone employed Martin, and it should not be difficult to identify that employer. If

the parties cannot resolve the issue informally in the next couple of weeks, they should

contact Magistrate Judge Leo I. Brisbois, and he will work with the parties to establish a

schedule for a very limited amount of jurisdictional discovery to identify Martin’s

employer. If the parties still cannot agree on the identity of Martin’s employer after that

discovery, Sappi Cloquet can renew its motion to dismiss and rely on evidence outside

of the complaint.

                                          ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:




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     1.      Defendant Sappi Cloquet, LLC’s motion to dismiss [ECF No. 21] is

             DENIED WITHOUT PREJUDICE.

     2.      If the parties are unable to agree on the identity of Ryan Martin’s

             employer by October 30, 2020, they must contact Magistrate Judge Leo I.

             Brisbois so that he can set a schedule for limited jurisdictional discovery.

             Sappi Cloquet may renew its motion to dismiss following that discovery.


Dated: October 16, 2020                       s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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